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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

 

 

for the
District of Columbia
United States of America

v. ) Case: 1:21-cr-00028
) Assigned To : Judge Amit P. Mehta

iN N

=o Assign. Date : 5/26/2021
) Description: SUPERSEDING INDICTMENT (B)
) Related Case: 21-cr-28 (APM)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) JASON DOLAN 3
who is accused of an offense or violation based on the following document filed with the court:

O Indictment x Superseding Indictment O Information © Superseding Information © Complaint
O Probation Violation Petition © Supervised Release Violation Petition QO Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 371 (Conspiracy); 18 U.S.C. §§ 1512(c)(2), 2 (Obstruction of an Official Proceeding and Aiding and Abetting);
18 U.S.C. §§ 1361, 2 (Destruction of Government Property and Aiding and Abetting); 18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted Building or Grounds)

— Robin M. Meriweather
Ife ~ Hf — 2021.05.26 15:48:06

 

 

 

 

 

 

  

   
 
 
  

  

Date: 05/26/2021 -04'00'
Issuing officer's signature
City and state: washington, D.C. Robin M. Meriweather, United States Magistrate Judge _
Printed name and title
Return
(date) _ 05/27/21

This warrant was received on (date) _ 05/26/21 , and the person
at (cityandstatey) Wellington, Florida ;

 

Date: 05/27/21

 

   

rresting officer's signature

J. Spence, FBISA

Printed name and title

 

 

 
